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IN RE:

MICHAEL PENCE

 

 

APPEARANCES:

APPEARANCES:

FOR THE UNITED STATES:

FOR MICHAEL R.

UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

GRAND JURY SUBPOENA

UNITED STATES OF AMERICA
Interested Party,

PENCE:

Grand Jury

March 23, 2023

Washington, D.C.

Interested Party,

SEALED PROCEEDING
BEFORE THE HONORABLE JAMES E. BOASBERG
UNITED STATES DISTRICT COURT CHIEF JUDGE

James Pearce, Esquire

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John Pellettieri, Esquire

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680 Maine Avenue Southwest
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REPORTED BY:

, RMR, CRR

Official Court Reporter

333 Constitution Avenue Northwest
Washington, D.C. 20001

 

 
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The following proceedings began at 11:06 a.m.:
THE COURTROOM DEPUTY: Good morning.
Your Honor, the courtroom has been sealed and locked.

We are here in regard to grand jury subpoena GJ

Beginning with counsel for the government, please
state your name for the record.
| MR. PEARCE: Good morning, Your Honor. James Pearce
on behalf of the United States. Also with me at counsel table

| are Thomas Windom, John Pellettieri, and Cecil VanDevender.

Thank you.

 

 

MR. FLOOD: Emmet Flood from Williams & Connolly, Your

HE COURT: Okay Thank you.
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Honor. And my colleagues with me today are Richard Cleary and
Haylee Bernal Anderso
THE COURT: Thank you so much. Welcome.

Thank you, everybody, for your fine work on these

interesting issucs. aus

 

 

 

 
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Anything preliminary that I need to know that's

different? And I guess it might be helpful for the government

 

 

to tell me, if I permit the testimony to go forward, is there a

date that you have in mind for that? [x

MR. PEARCE: i

THE COURT: Thanks. Anything else preliminary for the
government?

MR. PEARCE: No, Your Honor.

 

 

 

 
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Mr.

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COURT: Thank you.

Flood?

FLOOD Nothing, Your Honor.
COURT Thank you

 

 
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THE COURT: Please. Let's just wait for the courtroom
deputy.

MR. FLOOD: There's a bag here.

THE COURT: Thanks.

Okay. I am going to let you go first, Mr. Flood. And
again, I appreciate your briefing on this. It certainly raises

interesting issues.

And so what I would like to start with is this. Let's
assume for the moment that I find that the Vice President is
covered by the speech and debate clause and the question is to
what extent that coverage extends.

So why wouldn't it be appropriate that the coverage
for his ceremonial duties including certification of electors
should be narrower than the coverage for acting as, say, a
tie-breaking vote in the Senate? Isn't there a reason to

distinguish the scope of the privilege in those circumstances?

 

 
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MR. FLOOD: I think there's not, Your Honor. If Your
Honor finds that the Vice President is covered by the speech or
debate clause privilege, I think that the next question is what
is encompassed within that. And I don't think that it's a
question of sort of relevant scope internal to the coverage,
but rather, is there coverage at all for something other than
the actual conduct that he engaged in on January 6.

And may I say, Your Honor, without -- I don't intend
by my response to endorse the idea that what he did on
January 6 was ceremonial and only ceremonial. I know he's made
some remarks to that effect, but that's not our litigating
position, that he was not speaking formally or, you know, ina
judicial admission type inviting setting.

So I think what we seek is a clear rule from Your
Honor. And because it's an issue of first impression, I think
there are at a minimum two parts to that. One is whether a
Vice President can be covered at all. As we concede the words
Vice President do not appear in the relevant clause.

If he can be, then the question is, all right, how far
does that extend? And our argument there is a pretty
straightforward one. It extends to all legislative acts as
that is defined in Gravel and succeeding cases. And if it
extends to legislative acts, then we think Your Honor can draw
a bright line that will separate the sheep from the goats, all

right, on the coverage question. And while there may always be

 

 
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close cases, we think that, you know, that would go very far
toward resolving the whole thing.

THE COURT: So again, assuming that there is coverage,
and let's go even farther and assume that there is not a
diluted privilege for his January 6 type acts, so the question
is, and I agree with you is -- well, the law is clear under
Gravel that the clause protects legislative acts which are
matters integral to a constitutionally or statutorily
prescribed legislative function. And I think we all agree on
that, even if the government doesn't necessarily agree he's
covered at all.

But assuming he is covered, it seems that there are
some 9M categories that are interesting to discuss, but
there are a bunch which I would trust you would concede are not
covered. I mean, for example, and I don't -- it might be
helpful, Mr. Flood, if you had the category list in front of
you.

MR. FLOOD: I do, Your Honor.

THE COURT: Great. So, you know,

DE Foca, how do those

relate to a legislative act?

MR. FLOOD: I think the short answer, Your Honor, and

I acknowledge it's a general one, is it depends on the

question. IIIa

 

 
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MR. FLOOD: Your Honor, if I could answer by way of an
illustration. If the Vice President were before the grand jury

and was asked, tell me about the experience of your day on

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November 3, Election Day 2020, the answer to that is there i

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r debate privilege for that, and obviously we

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If by contrast the Vice President was asked this, in

 

 

the course of your preparation for January 6, did you discuss
as part of that preparation the events of November 3, 2020, and
to the extent it's implicated by the preparation function, then
it might well be covered. But I think that's the kind of thing
that probably has to be done question by question.

THE COURT: [a
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So if they urged him to act unlawfully and in a way he
knew was unlawful, how is that an integral legislative act?

MR. FLOOD: [ think, Your Honor -- well, let me brea
it into two parts. The protection attaches to the legislative
actor. That's Vice President Pence. If someone else urges him
to act unlawfully but he doesn't reciprocate or there's no
cause to think he reciprocated, which is to say it's not like
the Brewster case in which the issue was the offer and
conversation about the acceptance of a bribe by a Member, in
that case, the wrong done by your hypothesis, Your Honor, by
the cajoling actor does not change the scope of the coverage of
the privilege.

The Eastland case, the Court is very frank about this,

 

 
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not this specific hypothetical, of course, but that sometimes
the speech or debate clause will extend in a way that's
unsatisfactory. And there are even cases that, names don't
come to mind right now, but as the Court has said several
times, that the speech or debate clause will protect conduct
where it applies which in another setting might be illegal.

THE COURT: Sure, but let's go back to Brewster.

So if the Senator had said no, are you saying he
couldn't be summoned to testify about the attempted bribe?

MR. FLOOD: I think that is our position, Your Honor.

THE COURT: But the whole point of Brewster is that
taking a bribe is not a core legislative act. It's not
integral to the legislative function. And similarly, I'm not
sure how listening to a proposed bribe could be part of one
either.

MR. FLOOD: Well, Your Honor, I think there is some
art in your question that I appreciate, and I would like to
break it down a little bit.

In Brewster, there was no dispute that what we were
talking about was a bribe and that the Senator had -- or I
can't remember if it was a Senator or Member --

THE COURT: It was a Senator.
MR. FLOOD: -- had reciprocated. [Xx
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more, all right, I think we are not on all fours with Brewster.

 

 
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And I think Brewster is in significant tension with Gravel and
other cases. That's a same-day decision, I think, but other

cases.

If the legislative actcr mms
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fall outside Brewster and under the coverage of many other
cases which say that legislative acts, and these are by our
view legislative acts, are protected even if the result is
something unsatisfactory.

There is a case from the circuit in 2009 in which then
Judge Kavanaugh says in a separate writing, he said, courts
have to respect the constitutional balance between the
executive and the legislative regardless of the perceived needs

of the moment. And I think if, to use Your Honor's word, mere

 

 

listening takes you outside the clause, then, you know, every
day there are Senators and Members listening to lobbyists and
being asked to do things, some of which I don't think we can
rule out may be a borderline illegality. And if the mere
suggestion at the front that there may have been illegality on
the part of the third party actor, not the legislative actor,

is enough to breach the privilege, the privilege is effectively

gone for testimonial compulsion. That's our position.
THE COURT: It's only gone if -- I think that's a
rather sweeping statement. It's gone for illegal, proposed

illegal and unlawful and ultra vires acts. You are right, it

 

 
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would be gone for that. How does that vitiate the privilege?
The privilege remains for anything that's lawful.

But how is it integral to the legislative function to
be offered bribes to be -- well, I mean, even offered bribes
and that alone. I think to sort of say that Brewster only
applies to accepted bribes, I understand there's a distinction,
but I think that you are cutting that awful thin there.

MR. FLOOD: With respect, Your Honor, I think I am
cutting it in the place where the Court cuts it, the Supreme
Court cuts it.

If mere listening can subject a legislative actor to
compel testimony, with all respect, Your Honor, I think that
would sweep very, very broadly.

THE COURT: So in other words, so the answer is that
people should bribe with impunity because if it's accepted,
they are all set. If it's declined, no one can ever tell them
about it, no one can ever say anything about it.

MR. FLOOD: I don't think that follows, Your Honor. I
don't think that no one can ever say anything about it. A
Senator would have the option to say, wait a minute, this is so
bad, this is so awful, I'm going to march down to the field
office in the FBI and report it. I mean, it's entirely within,
you know, the discretion of that actor to do that kind of
thing. I don't think it leads to a bribe with impunity --

THE COURT: But if that Senator says I, like Vice

 

 
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President Pence, need to stand up for the breadth of the speech
or debate, so I'm only shooting myself in the foot if I go down
to the FBI office.

MR. FLOOD: I don't agree with that, Your Honor,
because that's a voluntary act. To me, that's somewhat
analogous to writing a book or making a public statement.
Legislative actors can say, can and do say all kinds of things
that might be subject to the privilege. And an attempt to
bribe might very well fall in that category. But here, that's
the difference between a voluntary act and compulsion.

And I also think there's an element in Your Honor's

question where there's a possible cart before the horse

problcm. Ia

THE COURT: But that they were asking him to do
something he could not do, he did not have legal authority to
do.

MR. FLOOD: Correct. But I think there is, if I may
say, Your Honor, unlawful and unlawful. And in this setting

where the grand jury investigates and when they do charges,

 

 
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violations of Title 18 and other laws, that's one kind of
thing. There's another kind of, you know, unlawfulness which
is the Vice President's view that consists of simply lacking
the power to do something that someone wants him to do. And I
I think that's two different settings. And I don't think the
Vice President's view of that effectively opens him up to
questioning.

THE COURT: But then let's talk about Helstoski, which
even there, it says promises by a Member to perform an act in
the future are not legislative acts. So that's not even where

you are being bribed, that if the Member goes and says I will

 

 

do this for you, that's not covered.

MR. FLOOD: Correct. But
Re = What we have here is conversations in

advance of the performance of the constitutional statutory
duties on January 6. Those were preparatory conversations.
And part of the Vice President's preparation was to learn what
the arguments would be, what the position was, whether he could
accommodate it, or whether it was inconsistent with the advice
he was getting from his counsel. All right. And we submit
that is, so to speak -- in another setting, I think we would
call that garden variety legislative acts in preparation.

THE COURT: And this is certainly, I think, the best
argument for this, and it seems particularly convincing when

addressed to his staff, his conversations with the

 

 
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parliamentarian, his discussions about what he could do and how
he could do that on January 6.

My question, though, is why shouldn't I draw the line
between those which would be covered and conversations in which
people urged him to take steps he knew he couldn't take, didn't
have authority, didn't have legal power to take? Why isn't
that a place, based on Brewster and Helstoski, to draw the
line?

MR. FLOOD: Because, Your Honor, I think the key
concept here is preparation as a legislative act. In Brewster,
the Court is clear that the conversation that Brewster engaged
in was no part of a legislative act. There is nothing about
that that, as to Brewster who sought the protection of the
privilege, he could claim the coverage by reason of its being a
legislative act.

THE COURT: Because it wasn't legal to take a bribe
even though Brewster said that the vote was protected.

MR. FLOOD: Right. To which I respond, Your Honor, it
wasn't legal to take bribes. Okay. He was the bribed person.

I just don't see -- I mean, Your Honor, I don't see
that there is a judicially administrable rule that can slice in
between Brewster and Gravel and assimilate this to Brewster
such that any conversation that someone has that a member of
the legislature or here the Vice President has in advance of a

congressional proceeding is open to testimonial compulsion if

 

 
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someone can say at the threshold this may have involved some
illegality. I think more is needed to crack the privilege.
And I will go back to what the court says in Eastland. The
privilege, where it applies, sweeps broadly, and it may protect
material that otherwise the government or a private actor in a
civil suit might want to have. But what's needed is a clear
rule and a clear application of a principle. I don't see any
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THE COURT: Great. Thank you very much, Mr. Flood.
MR. FLOOD: Thank you, Your Honor.
THE COURT: Mr. Pearce, you are up again.

MR. PEARCE: My inclination is to sort of engage right

where you were unless I'm happy to go back and kind of talk
about why we think there's a compelling argument that the Vice

President isn't covered but --

THE COURT: I'll tell you, folks, that it's an
interesting issue. I'm inclined to come down on the Vice
President's side of the line on that. And I think you brief it
well. They brief it well too. I'm not pretending anywhere.
think I'm probably on their side of the line on that one.

So let's talk, though, about why Mr. Flood says,
you can't draw the line you are proposing, Judge, it doesn't
fly. Do you want to tell me why you think I can draw that
line, or maybe you would rather put the line somewhere else,
but go ahead.

MR. PEARCE: I want to spend a brief period of time

 

 
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trying to persuade you to draw the line somewhere else but
ultimately come back and say that if you draw the line where I
heard you or understand you to have proposed it with Mr. Flood,
that that is defensible as well. But, you know, in our view --
so let me start with one thing. One of the concerns I heard
was the absence of a judicially administrable standard. I
mean, I think, actually, as you said, that's common ground
between the parties. And I think we all agree, if we are
talking about a legislative act, that's got to be an act that
is an integral part of the deliberative or communicative
process by which a Member, which will include the Vice
President for current purposes, participates in some matter
that's in the jurisdiction of either House.

With respect to January 6, we, of course, don't
disagree that the certification process was within the
jurisdiction of both Houses, as it were. We believe the Vice
President was accurate in his memoir in describing his role
there as ministerial or ceremonial, in which case, in our view,
it thus follows that his acts there ~~ what he did there were
not legislative acts.

I think it comes nonetheless within the ambit of the
clause textually, but you know, you don't have to agree with us
there, you know, and we say in the portion of our brief we
think it's a plausible reading, if the Vice President is

covered, to say what he does on the floor of either the House

 

 
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or the Senate is, in fact, covered.

| Then the question becomes what acts are integral to
the communicative or deliberative process by which he readies
himself. Now, again, our top line position is, because it's
ceremonial or ministerial, there are no such things and that,

| therefore, the line should appropriately be drawn in a way that
says even if there were some kind of preparatory work that
might otherwise be covered, not in an instance where it is a

| ceremonial or ministerial duty, I think to the extent the Vice
President were pontificating how to vote in a tie-breaking
vote, you know, as we concede in our papers, I think that could

potentially be trying to think about how best to vote.

 

 

You know, you may disagree and say, okay, you know, I
think some kind of preparation would, in fact, be relevant to
the Vice President's duties on January 6. So if that's the
case, I think at best the line captures, as I think I heard the
Court say, conversations with the parliamentarian to understand
what are precisely my obligations, you know, what is it that I
need it do, what is kind of the balance of information
available.

THE COURT: And how about where his staff says, look,
here are the options, here's how you should go about this, and
when a Member objects from a certain delegation, here's what
you have to do? I mean, if he's covered, it would seem things

like that are also within the ambit.

 

 
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MR. PEARCE: I think that's a closer call. I think a
lot would turn on precisely the nature of that advice, you know
if -- as, you know, in the hypothetical sort of you've just
offered, I think it's true that it's harder to put outside the
line if it is, you know, genuinely trying to prepare for how to
carry out the legislative duties, then I concede that is a much
more challenging row for us to hoe and to overcome.

To the extent the advice is about what are the

political calculations in doing this or that or, you know, what

 

 

might be the fallout or something like that, I think all of

that falls outside of it. But if it is -—- again, I'm not going
to back off our view, you know -- advice as to how to carry out
the ministerial job of presiding over -- and by ministerial, we

don't mean to suggest it's unimportant, but it is ministerial.

What is certainly not covered, however, are, to get
as, I think, Your Honor put it, to the nub of the matter, sort
of other individuals coming in sort of soliciting, whether
asked or not, advice or proffering ideas about what the Vice
President's powers or what he could or could not have done on
January 6.

And I actually don't even think it turns on whether or
not that advice is lawful or not. You know, I think the fact
that there is a more than colorable argument, and I think, as
you said and the Vice President himself has suggested, he was

being asked to do things that he believed were unlawful that

 

 
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exceeded the sort of constitutional and statutory duties, I
think that makes the point even more finely.

But we certainly don't read Brewster to say, look,
if -- as long as the member doesn't follow through on the
proposed course of objection, let's for present purposes posit
we are all going to agree it's illegal, Member doesn't carry
out that proposed action, there's nothing in Brewster that says
that that somehow falls outside of the scope, or is covered,
rather, by the speech or debate.

THE COURT: All right. So let's again sort of look
for where we draw the line.

So if, and I know you are not conceding, but if we say
that those sort of staff parliamentarian discussions are

relevant for his preparation of how he's going to act on
January 6, and then we get to es
I , ho io we distinguish those from

the others without using this idea of ultra vires or acting
unlawfully? In other words, how else can you distinguish them?
MR. PEARCE: I think there's a kind of another aspect
of the speech or debate doctrine that comes into play here, and
that is this question of what I think is generally referred to
as informal fact-finding that's carried out by the Member. And
we have taken the position, we think it's consistent with
Bastland and with the D.C. Circuit's decision in the McSurley

case, that essentially no informal fact-finding is permissible

 

 
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unless it is authorized by its sort of -- there's a requirement
that it be authorized by some kind of congressional
authorization through a committee or subcommittee.

And here, right, there is no such kind of
authorization. And so to the extent, you know, in this fact
pattern the Vice President wanted informally to try to get as
much information as possibly available to him, that that
actually just falls outside entirely of the scope of speech or
debate.

THE COURT: So in other words, let's take a Senator,
clearly covered, who's preparing for an important vote, clearly
covered, and the White House or an agency or cabinet member
says to the Senator, look, it's really important that you vote
with us this way because, look, it's going to be great for your
constituents, it's important for the country, this is why we
want you to vote, I mean, isn't -- you say that's not covered?

MR. PEARCE: I wouldn't see why it would be covered.

I don't see what about it would -- certainly under the top-line
view that there's no sort of congressional authorization
underlying the -- I mean, if I understand that example, it's,
again, sort of unsolicited commentary saying this is the way --
I mean, it's like a lobbyist, right, in that instance --

THE COURT: Sure.

MR. PEARCE: -- the executive is like a lobbyist.

THE COURT: Sure. But if it's solicited, if the

 

 
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1 Member goes to the Secretary of Agricultural or Commerce and

2 says, why should I vote for this, I mean, sort of the voting is
3 the central legislative function, and getting informed, not by
4 some random town hall meeting, but from people in the executive
5 charged with that function, you still don't -- that's not

6 covered?

7 MR. PEARCE: So again, solicited, I think, gets us

8 back to this question of informal fact-finding. And yes, our

9 top-line view, and we have taken this in a case that's actually
10 pending before the D.C. case now --
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15 | MR. PEARCE: There was a public aspect of it where
16 argument was involved. But yeah, we have taken that position
17 there. But even if the D.C. Circuit were to decide that case
18 and adopt a more liberal standard, the sort of -- we refer to
19 this on page 26 of our papers, the Virgin Islands verse Lee,

20 out of the Third Circuit, which basically says, look, so long

21 as the individual's -- I think it's like significant and
22 bona fide purpose is legislative and is carrying that out in
23 order to further the legislative act, you know, you then get

24 what the Third Circuit later in the Menendez case calls sort of

25 an ambiguously legislative act. And then the Court has to kind

 

 
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of inquire into the purpose and the motive, which all gets
pretty squishy pretty quickly in our view, and that's one of
the principal virtues of our test as opposed to that.

But let's say that that's the world in which we live,
you know, that is not -- I grant you that there might be some
challenging hypotheticals along the lines of I'm a Senator who
really wants to know the best way to vote on, let's say, an
agricultural bill, so I reach out to USDA and I say give me the
best science that you've got on this pending legislation, I'm
trying to parse through how to vote, right, I think that would
fairly pose a hard question.

That is nothing akin to, not only what we have
proffered, but what the former Vice President himself has
proffered, so to speak, in his memoir.

THE COURT: But I'm -- again, no surprise -- I'm
struggling to find a line that's not the unlawful ultra vires
line between the two.

Let me ask you, and I think you were going to talk
about it and I may have cut you off, why you think Mr. Flood's
distinction of Brewster is wrong, in other words, why you think
that -- he says that if Brewster hadn't accepted the bribe,
that then their conversation would be covered. I know this
isn't where you were prepared to draw the line, but do you have
a response to that?

MR. PEARCE: Yeah, a couple responses. One, a sort of

 

 
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doctrinal, and then one I think is just sort of a matter of
common sense that I think I heard the Court say but certainly
won't put in the Court's mouth.

Doctrinally, it's impossible to square that with later
cases like Helstoski and other cases that say a promise to take
future acts are themselves unprotected under the speech or
debate clause. So there's nothing in there about whether that
promise is in exchange for a bribe or is somehow to do
something other than what is, everyone might say, a vote or a
perfectly lawful act.

But the notion is we are not trying to protect the
kind of negotiation horse trading that might be going on.
Promising to do something, refusing to do something, you know,
isn't deserving of the protection in the same way that
preparing, again not necessarily our position, but you know,
preparing to vote on a bill or carrying out investigation in
preparation for a committee hearing. So that's the doctrinal
point.

And then second, which again, I take it just to be
sort of a common sense point, which is it's hard to understand
why one would prioritize protecting unlawful activity where the
Senator didn't bite, so to speak, that somehow just because
that Senator said no, I'm not going to take the bribe, that
somehow that's protected, but when the Senator takes the bribe,

and we all agree whatever the Senator's corresponding action

 

 
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is, whether that's a vote or a speech on the floor as it was in
Johnson, that that somehow becomes criminal at that point. I
don't see any -—- I mean, I suppose that's a line. It just
seems to come out of thin air.

THE COURT: Okay. If there was any other point,

Mr. Pearce, that you wanted to make, I am happy to hear that.
Those were the main ones I was interested in.

MR. PEARCE: I don't want to waste the Court's time.
I would be happy to try to persuade you on our top-line
argument, but I don't need to --

THE COURT: Again, I think your brief was good. It's
an interesting question. But I'm not sure in a couple of
minutes you are going to say anything that I haven't read.

MR. PEARCE: Okay.

THE COURT: Thanks so much.

MR. PEARCE: Thank you.

THE COURT: Mr. Flood, I will give you a couple
minutes to rebut.

MR. FLOOD: Thank you, Your Honor.

First I want to underscore that what we are seeking
here is the protection of an immunity. If there is an
immunity, we submit that should take the form of something
approximating a general workable rule; otherwise, the immunity
won't function as an immunity.

Second, on the McSurely point, we think respectfully

 

 
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the government has overread McSurely a little bit in general.
But as to the specific point that my colleague made on the
other side, the idea that there's no authorization here for
what the Vice President did, I think is just wrong.

In the congressional setting, I know Chief Judge
Howell --

THE COURT: I'm sorry, I'm not tracking exactly,

Mr. Flood, when you say they said there's no authorization for
what he was doing, what --

MR. FLOOD: I should be more precise, Your Honor. I
took Mr. Pearce to be saying that the Vice President's actions,
at least as far as preparations go, had no official
authorization, and that to that extent, it was distinguishable
from what I will call one reading of McSurely.

THE COURT: I didn't take -- I did not so infer --

MR. FLOOD: Okay.

THE COURT: -- so I don't think you need to address
that point.

MR. FLOOD: Okay. Just a couple last quick things
then, Your Honor.

As to whether the conduct is ministerial or not, we've
made clear, I think, that our position is that it's not. But
even if it is, it's still protected because it is a legislative
act.

THE COURT: Eastland says the protection is absolute.

 

 
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4’)

 

MR. FLOOD: Yes.

THE COURT: And so it's -—- I think sort of the
question of whether as to diluted privilege or not is
interesting, but Eastland certainly makes that argument
stronger for your side.

MR. FLOOD: Okay. And the last point on Helstoski,
Your Honor. If Mr. Pearce were right in that the rule of
decision in Helstoski extended beyond a specific promise to

take a future act and were extended to this situation in which

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there is no suggestion of a promise, then the rule would expand

legislative

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to, in effect, any conversation in advance of
act, and that, we submit, would vitiate the clause pretty
thoroughly.

THE COURT: Sure. The idea that if you said I want
you -- any request to do something would make it pretty broad,
yeah. Okay.

MR. FLOOD: Thank you.

THE COURT: Thank you, sir,

 

 

just want to wrap this up. I have appreciated

Hi

everybody's hard work on this, and again, this all seems to

 

 
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take place in a compressed time frame for sure.
So my plan is to have rulings out by Monday [yy

Rs 2 then folks can proceed from there.

Is there anything else that and so what I would
expect -- so expect to submit the rulings to the government

first just to see if the government has anything they want to

recact. [is — 1 i

I do that, I will expect a very fast turnaround, as in a couple
hours’ turnaround.

So anybody have any other questions on logistics or
scheduling xx». «Mir. Pearce?

MR. PEARCE: No questions. And we would be prepared

to turn it around within a couple of hours for sure.

THE COURT: Thank you. es

Mr. Flood?

 

 

MR. FLOOD: No, Your Honor. Thank you.
THE COURT: Thanks, everybody. Talk to you soon.

(The hearing concluded at 12:22 p.m.)

 

 
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CERTIFICATE

I hereby certify that the foregoing is an
accurate transcription of the proceedings in the

above-entitled matter.

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ME RMR, CRR
Official Court Reporter
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Washington, D.C. 20001
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